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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:02CR21
                                              )
                       Plaintiff,             )
                                              )
      vs.                                     )                    ORDER
                                              )
DALE R. HERMAN,                               )
                                              )
                       Defendant.             )

      This matter is before the Court on the unopposed Defendant’s Motion to Extend the

Self-Surrender Date (Filing No. 304).

      IT IS ORDERED:

      1.     The Defendant’s Motion to Extend the Self-Surrender Date (Filing No. 304) is

             granted;

      2.     The Defendant shall self-surrender to his designated institution no later than

             2:00 p.m. on Friday, November 18, 2005; and

      3.     The Clerk shall immediately provide a copy of this Order to the U.S. Marshal’s

             Office.

      DATED this 19th day of October, 2005.

                                                  BY THE COURT:

                                                  S/ Laurie Smith Camp
                                                  United States District Judge
